Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 1 of 21 PageID# 45168




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            Newport News Division

  PATRICIA E. MULLINEX,                    )
  INDIVIDUALLY AND AS THE                  )
  EXECUTOR OF THE ESTATE OF                )
  HERBERT H. MULLINEX, JR.,                )
                                           )
                    Plaintiffs,            )
  v.                                       ) Case No. 4:18-cv-00033-RAJ-DEM
                                           )
  JOHN CRANE INC.,                         )
                                           )
                   Defendant.              )



             REPLY IN SUPPORT OF DEFENDANT JOHN CRANE INC.’S
              SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 2 of 21 PageID# 45169




                                                     TABLE OF CONTENTS

                                                                                                                                           Page

  INTRODUCTION ......................................................................................................................... 1
  ARGUMENT ................................................................................................................................. 4
       I. THERE IS NO DISPUTE THAT PLAINTIFFS HAVE NO MARITIME
          DAMAGES. ....................................................................................................................... 4
       II. VIRGINIA DAMAGES ARE NOT AVAILABLE TO PLAINTIFFS IN THIS
           MARITIME CASE. ........................................................................................................... 4
            A. Plaintiffs abandoned any claim for Virginia damages. ................................................ 5
            B. This Court already excluded the damages to which Plaintiffs seek to pivot
               under Virginia law. ...................................................................................................... 7
            C. Virginia’s wrongful death statute does not apply to these federal maritime
               claims. ........................................................................................................................ 10
                  1. Virginia remedies cannot overwrite the limits on maritime remedies here. ......... 10
                  2. Calhoun does not authorize the application of Virginia remedies in this
                     seaman’s case. ...................................................................................................... 11
  CONCLUSION ............................................................................................................................ 15




                                                                         i
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 3 of 21 PageID# 45170




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

  Cases

  Bioiberica Nebraska, Inc. v. Nutramax Mfg., Inc.,
     No. 1:18-cv-03133-SAG, 2021 WL 242494 (D. Md. Jan 25, 2021) .......................................12

  In re Cleveland Tankers, Inc.,
      843 F. Supp. 1157 (E.D. Mich. 1994)......................................................................................13

  Consolidation Coal Co. v. Consolidation Coal Co., Inc.,
     228 F. Supp. 2d 764 (N.D. W.Va. 2001) .................................................................................13

  Davis v. Bender Shipbuilding & Repair Co.,
     27 F.3d 426 (9th Cir. 1994) .....................................................................................................13

  Dutra Group v. Batterton,
     139 S. Ct. 2275 (2019) ...............................................................................................................9

  Gehlken v. McAllister Towing & Transp. Co.,
     No. 2:03-cv-03935-DCN, 2007 WL 2332487 (D.S.C. Jan. 29, 2007) ....................................13

  In re Goose Creek Trawlers, Inc.,
      972 F. Supp. 946 (E.D.N.C. 1997)...........................................................................................14

  Hays v. John Crane, Inc.,
     No. 9:09-cv-81881, 2014 WL 10658453 (S.D. Fla. Oct. 10, 2014) ........................................14

  John Crane, Inc. v. Hardick,
     722 S.E.2d 610 (Va. 2012),
     modified on reh’g on other grounds, 732 S.E.2d 1 (Va. 2012) ...............................................14

  In re Marquette Transp. Co. Gulf-Inland, LLC,
      182 F. Supp. 3d 607 (E.D. La. 2016) .......................................................................................13

  McClain v. South Carolina Nat’l Bank,
    105 F.3d 898 (4th Cir. 1997) .....................................................................................................4

  Miles v. Apex Marine Corp.,
     498 U.S. 19 (1990) .....................................................................................................................9

  Moragne v. States Marine Lines, Inc.,
    398 U.S. 375 (1970) .......................................................................................................9, 10, 11

  Savoie v. Chevron Texaco,
     No. 2:04-cv-01302, 2005 WL 2036740 (E.D. La. Jul. 22, 2005) ............................................14


                                                                      ii
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 4 of 21 PageID# 45171




  Scarborough v. Clemco Indus.,
     391 F.3d 660 (5th Cir. 2004) ...................................................................................................13

  Sebright v. General Electric Co.,
     525 F. Supp. 3d 217 (D. Mass. 2021) ............................................................................3, 10, 14

  Sugden v. Puget Sound Tug & Barge Co.,
     796 F. Supp. 455 (W.D. Wash. 1992) ......................................................................................13

  Yamaha Motor Corp., U.S.A. v. Calhoun,
     516 U.S. 199 (1996) ......................................................................................................... passim

  Statutes

  Va. Code § 8.01-38.1 .......................................................................................................................5

  Va. Code § 8.01-50 ..........................................................................................................................5




                                                                       iii
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 5 of 21 PageID# 45172




                                        INTRODUCTION

         JCI moved for summary judgment because Plaintiffs admitted that “all of the available

  potential for any damages have now been stricken from our pleadings.” 5/24 Tr. 8:4–5, ECF

  546-3. That admission was apt because Plaintiffs had strategically decided to pursue only maritime

  remedies, and to abandon Virginia damages.          But that decision backfired when this Court

  dismissed Plaintiffs’ survival claim and associated damages (after previously excluding evidence

  of punitive and loss-of-society damages). On the sole damages theory pursued here—that is,

  maritime damages—Plaintiffs thus do not contest that JCI is entitled to summary judgment.

         At first, Plaintiffs responded to the failure of their strategy by requesting leave to amend

  their complaint to pursue a Virginia damages theory. Pls.’ Memo. in Support of Motion for Leave

  to File a Fourth Amended Complaint (“Motion for Leave”) 12, ECF 546 (June 14, 2022); 5/24 Tr.

  7:19–21 (Plaintiffs moved “to continue the case so that we may amend the complaint and proceed

  as a Virginia wrongful death claim.”). But as JCI’s Opposition to Plaintiffs’ Motion for Leave

  explained, that proposed amendment has fatal defects, including:

         •   Plaintiffs’ Motion for Leave was in bad faith because it sought to undo Plaintiffs’

             strategic abandonment of any Virginia damages claim, see JCI’s Opp. to Motion for

             Leave, Part I, ECF 549 (July 1, 2022);

         •   The Motion for Leave was futile because the abandoned Virginia remedies had already

             been excluded by the Court’s existing damages orders, id., Part II.A–B; and




                                                  1
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 6 of 21 PageID# 45173




         •   The Motion for Leave was also futile because even if not otherwise abandoned,

             Virginia remedies cannot supplement a general maritime law death action brought on

             behalf of a seaman like Mr. Mullinex, see id., Part II.C. 1

         So now, in response to those fatal flaws in the Motion for Leave, Plaintiffs seek yet another

  port in a storm by claiming entitlement to switch theories—in hopes of surviving summary

  judgment—whether or not this Court grants permission for the Fourth Amended Complaint. Pls.’

  MSJ Opp. 5 n.3, ECF 550 (July 5, 2022). But even if Plaintiffs did not require leave to amend,

  many of the same defects in the Motion for Leave likewise doom Plaintiffs’ attempt to pursue

  Virginia damages without leave. And Plaintiffs have no persuasive response to those defects,

  which are just as fatal in this summary judgment context. So for at least three reasons, summary

  judgment is proper despite Plaintiffs’ eleventh-hour invocation of Virginia remedies.

         First, Plaintiffs already strategically abandoned Virginia remedies. As the Court noted,

  Plaintiffs “were not approaching this case from the standpoint of it being a wrongful death action

  under Virginia law,” but “were approaching this case in terms of it being a case under maritime

  law.” 5/24 Tr. 5:24–6:2. And Plaintiffs admitted that they strategically pursued maritime damages

  (rather than Virginia damages) because of maritime law’s perceived benefits for pain and suffering

  damages (not to mention the lack of a cap on punitives). Yet Plaintiffs claim they did not abandon

  Virginia damages because (they say) those damages were hiding all along in the Third Amended

  Complaint, and in any event their abandonment was strategically warranted by previous case law.

  But that Third Amended Complaint is silent on any Virginia damages claim, and Plaintiffs’




  1
    JCI also explained that Plaintiffs’ late amendment would prejudice JCI by duplicating its trial
  preparation burdens for a second trial and—if Plaintiffs succeed in their inevitable appellate
  argument demanding to have yet another jury address pain and suffering damages—for a third trial
  too. See id., Part III.

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Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 7 of 21 PageID# 45174




  perception of good strategic reasons for abandoning Virginia remedies does not make that

  abandonment any less binding.

          Second, the Court already excluded the remedies Plaintiffs now seek under Virginia law.

  JCI successfully moved to exclude evidence of punitive damages and loss of consortium, and

  successfully moved to dismiss Plaintiffs’ survival claim and its associated damages (including

  medical expenses). Plaintiffs would ignore those orders granting JCI’s motions so they can pursue

  Virginia-based damages. But the dispositive text of those orders bars the damages Plaintiffs seek

  here.

          Third, Plaintiffs’ theory of damages is wrong on the merits because Virginia damages do

  not apply to what Plaintiffs call this “quintessential maritime product liability action.” Pls.’ Opp.

  to MTD Maritime Claims 29, ECF 130 (Feb. 6, 2020). Plaintiffs’ Opposition still cites not one

  case allowing remedies under state law for a maritime claim brought on behalf of a seaman like

  Mr. Mullinex, when those same remedies have been found unavailable under maritime law. See,

  e.g., Sebright v. General Electric Co., 525 F. Supp. 3d 217, 250 (D. Mass. 2021) (“[S]tate law

  remedies are unavailable to spouses and dependents of injured seamen . . . since the general

  maritime law does not permit them.”). Rather, Plaintiffs hang their hat on the implausible theory

  that Navy sailor Mr. Mullinex was a non-seaman like the twelve-year-old girl on a jet ski in

  Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199 (1996). But common sense, Plaintiffs’

  repeated admissions, and well-reasoned precedent all confirm that Mr. Mullinex was a “seaman,”

  and so Plaintiffs cannot invoke state remedies under Calhoun. Virginia’s wrongful death statute

  thus does not apply here, and summary judgment should be entered for JCI.




                                                   3
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 8 of 21 PageID# 45175




                                            ARGUMENT

  I.     THERE IS NO DISPUTE THAT PLAINTIFFS HAVE NO MARITIME DAMAGES.

         JCI is entitled to summary judgment because Plaintiffs have pursued damages under

  maritime law exclusively yet conceded on the record—and do not dispute now—that they have no

  damages under maritime law: “all of the damages that we sought under maritime law have now

  been stricken.” 5/24 Tr. 7:16–17; id. at 5:8–10 (admitting that their maritime claim “no longer has

  any damages that we can pursue”). Indeed, Plaintiffs admitted that “all of the available potential

  for any damages have now been stricken from our pleadings.” 5/24 Tr. 8:4–5 (emphases added).

  Because Plaintiffs thus cannot recover the “essential element” of damages, summary judgment is

  proper. McClain v. South Carolina Nat’l Bank, 105 F.3d 898, 901 (4th Cir. 1997).

  II.    VIRGINIA DAMAGES ARE NOT AVAILABLE TO PLAINTIFFS IN THIS
         MARITIME CASE.

         Rather than resist summary judgment based on maritime damages, Plaintiffs insist that they

  have a right to a jury on a Virginia damages theory they supposedly pled but chose not to pursue.

  But the Court has already explained that “[Plaintiffs] were not approaching this case from the

  standpoint of it being a wrongful death action under Virginia law, as we were approaching this

  case in terms of it being a case under maritime law.” 5/24 Tr. 5:24–6:2. Nor has the Court granted

  Plaintiffs’ request for leave “to switch to a wrongful death action under Virginia law.” Id. at 6:6–

  7. To the contrary, Plaintiffs would strip that prerogative from the Court by insisting that they

  may switch to Virginia damages at the eleventh hour regardless of the Court’s permission. Pls.’

  MSJ Opp. 5 n.3.

         Plaintiffs are wrong. With or without leave, Virginia’s remedial scheme is unavailable

  here because: (i) Plaintiffs have abandoned any Virginia wrongful death claim; (ii) the Court’s

  existing damages orders already exclude the damages Plaintiffs would seek under Virginia law;



                                                   4
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 9 of 21 PageID# 45176




  and (iii) Virginia damages are unavailable here under maritime law because those Virginia

  damages conflict with maritime law. So JCI is entitled to summary judgment.

         A.      Plaintiffs abandoned any claim for Virginia damages.

         First, Virginia damages are unavailable here because Plaintiffs have abandoned them. See

  JCI’s Opp. to Motion for Leave, Part I.A. As Plaintiffs admitted on the record, they had powerful

  strategic reasons for shunning Virginia damages. And they did so—repeatedly—at the most

  natural moments to assert them. For the first time, Plaintiffs try to excuse that abandonment, but

  end up confirming that they indeed abandoned Virginia damages.

         Plaintiffs candidly explained why they strategically pursued wrongful death damages under

  maritime law rather than Virginia law. Under “Virginia’s wrongful death statute, pain and

  suffering is not a recoverable item,” so they “preferred to ask for the pain and suffering in the

  maritime law [rather] than the Virginia damages.” 5/24 Tr. 4:18–20, 5:1–3 (citing Va. Code

  § 8.01-50). Plus, Virginia law statutorily caps punitive damages at $350,000. See Va. Code

  § 8.01-38.1.

         Plaintiffs thus strategically abandoned Virginia remedies by never invoking Virginia’s

  wrongful death statute once in the six months following Mr. Mullinex’s death. See JCI’s Opp. to

  Motion for Leave 5–8. And Plaintiffs repeatedly confirmed that they were only pursuing maritime

  damages. See, e.g., Pls.’ Memo. in Support of Motion to Substitute 3, ECF 452 (Jan. 13, 2022)

  (“Patricia E. Mullinex, the Executor of the Estate of Herbert H. Mullinex, Jr., is the proper party

  to pursue any maritime wrongful death cause of action.”); id. (“Patricia E. Mullinex, Executor of

  the Estate of Herbert H. Mullinex, Jr., is the proper party to be substituted in this case for the

  maritime survival and wrongful death claims now owned by Herbert H. Mullinex, Jr.’s Estate.”).

  Thus, it was apparent (at least to the Court and JCI) that Plaintiffs were pursuing wrongful death

  remedies only under maritime law. See Opinion Granting JCI’s MTD Survival Claim 2, ECF 544


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Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 10 of 21 PageID# 45177




   (June 10, 2022) (“On March 24, 2022, however, Plaintiff filed a Third Amended Complaint

   (‘TAC’), seeking recovery for the wrongful death of Herbert H. Mullinex, Jr. under general

   maritime law.”); 5/24 Tr. 5:24–6:2 (“[Y]ou were not approaching this case from the standpoint of

   it being a wrongful death action under Virginia law, as we were approaching this case in terms of

   it being a case under maritime law.”). 2

          Plaintiffs nevertheless insist that the Third Amended Complaint was a Trojan horse

   concealing a Virginia wrongful death claim within itself. See Pls.’ MSJ Opp. 17–18. But the Third

   Amended Complaint merely cited Calhoun after asserting that Plaintiffs’ alleged injuries “are

   compensable under maritime law.” ECF 478 ¶ 30 (Mar. 24, 2022) (emphasis added). They did

   not invoke Virginia remedies in any meaningful way—and certainly not in a way that put the Court

   or JCI on notice of any Virginia claim. See 5/24 Tr. 6:3–7 (“Now, as I understand your request

   this morning, you want to -- you made an argument about it being concurrent here, something the

   Court hadn’t heard before, and you also asked the Court for an opportunity to amend this morning

   to switch to a wrongful death action under Virginia law.”). To the contrary, Plaintiffs’ Motion for

   Leave to file that Third Amended Complaint referenced a claim for damages only “under Maritime

   Law,” with no reference to Virginia damages. ECF 476, at 2 (Mar. 22, 2022). And far from

   altering Plaintiffs’ previous representations that they were pursuing only maritime damages, see,



   2
     Plaintiffs suggest that JCI waived this abandonment argument by raising it in opposition to
   Plaintiffs’ Motion for Leave rather than in JCI’s Motion for Summary Judgment. See Pls.’ MSJ
   Opp. 17. Not so. JCI’s understanding is the same as the Court’s: that Plaintiffs had pleaded a
   wrongful death claim only “under general maritime law,” Opinion Granting MTD Survival Claim
   2, and “were not approaching this case from the standpoint of it being a wrongful death action
   under Virginia law.” 5/24 Tr. 5:24–6:2. JCI thus took the view reflected in the Court’s comments
   that Plaintiffs had “asked the Court for an opportunity to amend . . . to switch to a wrongful death
   action under Virginia law.” Id. at 6:3–7. Unless the Court grants that opportunity to amend, the
   claim for Virginia damages is not before the Court, and there was no need for JCI to move for
   summary judgment on a claim not before the Court at the time of JCI’s submission.



                                                    6
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 11 of 21 PageID# 45178




   e.g., Motion to Substitute 3, that Motion for Leave confirmed that Plaintiffs were merely “seeking

   leave to amend their complaint to conform to the evidence and procedural posture of this case.”

   Id.

          Although Plaintiffs assert the Third Amended Complaint includes a Virginia wrongful

   death claim, they argue in the same breath that they had good reason to abandon that Virginia

   claim. In their view, they could not pursue Virginia remedies because “[t]he Hardick II decision

   does not permit Plaintiff to recover damages under both the Virginia wrongful death statute and a

   maritime survival cause of action.” Pls.’ MSJ Opp. 17. That argument in fact concedes that they

   had abandoned any Virginia wrongful death claim. But it does not excuse that abandonment.

   Nothing prevented Plaintiffs from pursuing Virginia remedies in the alternative, especially when

   Plaintiffs knew their maritime damages claims were in jeopardy based on JCI’s then-pending

   motions.

          B.      This Court already excluded the damages to which Plaintiffs seek to pivot
                  under Virginia law.

          Summary judgment is also appropriate because the damages Plaintiffs now seek under

   Virginia law have already been excluded. JCI moved to exclude Plaintiffs’ claims for loss of

   society, punitive damages, and medical expenses, and the Court granted those motions. See JCI’s

   Opp. To Motion for Leave, Part II.A. There is no basis for reconsidering the grant of those motions

   based on Virginia-law arguments Plaintiffs chose not to make before. See id., Part II.B.

          First, JCI’s successful motion to exclude evidence for loss of society and punitive damages

   applies to Virginia wrongful death damages because that motion was not confined to a particular

   theory of damages. The magistrate judge correctly observed that JCI “moved to exclude Plaintiffs

   Herbert H. Mullinex, Jr., and Patricia E. Mullinex’s evidence relating to their claims for loss of

   society and punitive damages.” Report and Recommendation on JCI’s Motion to Exclude 1, ECF



                                                   7
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 12 of 21 PageID# 45179




   351 (Oct. 5, 2021). The magistrate judge “RECOMMEND[ED] the court GRANT JCI’s Motion

   in Limine to Exclude Evidence Relating to Plaintiffs’ Claim for Loss of Society and Punitive

   Damages,” id. at 7, and the Court adopted and affirmed that recommendation over Plaintiffs’

   objection. ECF 533 (May 20, 2022); see also Opinion Granting JCI’s MTD Survival Claims 2 n.1

   (“Plaintiff also requests punitive damages and other non-pecuniary damages. Third Am. Compl.

   at 15–18. The Court need not address those damages here because this Court adopted and affirmed

   United States Magistrate Judge Douglas E. Miller’s Report and Recommendation, which denied

   those damages.”).

          Plaintiffs, though, insist that the grant of JCI’s motion to exclude was limited to pre-death

   evidence of loss of society and punitive damages. Pls.’ MSJ Opp. 4, 7–8, 14. But there is no

   support in the recommendation or order for that gerrymandered interpretation, and Plaintiffs cite

   none. And there was ample time to apprise this Court of any new arguments against the motion to

   exclude based on Mr. Mullinex’s death. See Suggestion of Death, ECF 436 (Nov. 17, 2021). Yet

   Plaintiffs sat silent on that motion for six months after his passing, including the May 19, 2022

   conference at which the Court affirmed the magistrate judge’s recommendation.

          Second, JCI’s successful motion to dismiss survival damages likewise covers the pre-death

   medical expenses Plaintiffs would seek under Virginia law. JCI requested “dismissal of Plaintiff’s

   claims for both Mr. Mullinex’s pain-and-suffering damages as well Plaintiff’s claim for Mr.

   Mullinex’s pre-death medical expenses.” JCI’s Memo. in Support of MTD Survival Claim 2, ECF

   482 (Apr. 6, 2022). The Court granted that motion, “find[ing] that Plaintiff is not entitled to

   recover Mr. Mullinex’s pre-death pain and suffering or medical expenses.” Opinion Granting

   JCI’s MTD Survival Claim 1; see also id. at 10 (“Plaintiff[s] [are] only entitled to the pecuniary

   damages resulting from Mr. Mullinex’s death.”).




                                                   8
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 13 of 21 PageID# 45180




          Plaintiffs again argue that JCI’s motion was too narrow to reach a claim for medical

   expenses under Virginia law. Pls.’ MSJ Opp. 8. Again, Plaintiffs are wrong. Plaintiffs ignore the

   scope of JCI’s motion to dismiss and the Court’s express findings that cover their claim for medical

   expenses (without limitation to any particular legal theory). If Plaintiffs believed (as they now

   insist) they had a viable alternative theory to pursue medical expenses, see, e.g., Pls.’ MSJ Opp.

   13, the burden was on them to explain why that theory required the Court to deny JCI’s motion.

   Instead, Plaintiffs chose not to even try to meet that burden. 3

          Plaintiffs also insist that JCI needed to move to dismiss their wrongful death cause of action

   to exclude medical expenses. See, e.g., Pls.’ MSJ Opp. 1, 2 n.1, 4–5 & n.3, 8, 10, 12. But unlike

   their survival claim, the general maritime wrongful death action under which Plaintiffs claimed

   pecuniary damages is supported by Supreme Court precedent. See Third Amended Complaint ¶

   30; see also Moragne v. States Marine Lines, Inc., 398 U.S. 375 (1970). Plaintiffs did not disclose

   that they lacked any pecuniary damages until the morning of trial. 5/24 Tr. 5:8–10 (“[T]he

   maritime claim under the ruling that you made yesterday no longer has any damages that we can

   pursue.”). Thus, there was no basis throughout this case to seek dismissal of the wrongful death

   cause of action. And since JCI successfully obtained the exclusion of evidence relating to loss of

   society and punitive damages before Mr. Mullinex’s passing, there was no reason—and Plaintiffs

   point to none—to relitigate those issues after Mr. Mullinex’s death. 4
                                                                        3F




   3
     Of course, Plaintiffs have not moved for reconsideration of those damages orders, nor would
   there be any basis for that motion at this late hour. See JCI’s Opp. to Motion for Leave, Part II.B.
   4
     These already-excluded damages were not somehow resuscitated when the case was converted
   from a personal injury to a wrongful death case, since the Supreme Court has already held that
   neither loss of society, Miles v. Apex Marine Corp., 498 U.S. 19, 29–30 (1990), nor punitive
   damages, Dutra Group v. Batterton, 139 S. Ct. 2275, 2287 (2019), are available remedies in
   general maritime law wrongful death cases.

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Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 14 of 21 PageID# 45181




            As to medical expenses, once again additional motions practice was unnecessary

   because—as the Court correctly held—JCI’s motion to exclude survival damages covered medical

   expenses. And again, there was no reason to think Plaintiffs were pursuing any Virginia damages

   because, as the Court observed, Plaintiffs “were not approaching this case from the standpoint of

   it being a wrongful death action under Virginia law.” Id. at 5:24–25. So the Court’s existing

   damages orders confirm that summary judgment is due even under Plaintiffs’ new Virginia

   damages theory.

            C.     Virginia’s wrongful death statute does not apply to these federal maritime
                   claims.

            In any event, summary judgment is proper because Virginia remedies are unavailable on

   the merits here. Federal maritime remedies—not conflicting Virginia remedies—apply to these

   federal maritime claims. See JCI’s Opp. to Motion for Leave, Part II.C.1. Plaintiffs try to

   circumvent that rule based on misinterpretations of Yamaha Motor Corp., U.S.A. v. Calhoun, 516

   U.S. 199 (1996), and this Court’s Opinion on survival damages. But neither opinion supports

   applying Virginia’s wrongful death statute here. See JCI’s Opp. to Motion for Leave, Part II.C.2.

                   1.     Virginia remedies cannot overwrite the limits on maritime remedies
                          here.

            The constitutional structure of federal maritime law makes that uniform law—rather than

   state law—the “appropriate source of a remedy for violation of the federally imposed duties of

   maritime law.” Moragne, 398 U.S. at 401 n.15. Thus, courts have consistently refused to graft

   conflicting state-law remedies onto federal maritime claims brought on behalf of self-described

   seamen like Mr. Mullinex. See, e.g., Sebright, 525 F. Supp. 3d at 223 (refusing to allow state-law

   loss-of-consortium damages “since the general maritime law does not permit them”). And

   Plaintiffs offer not one case transplanting conflicting state-law remedies onto a federal maritime

   claim.


                                                  10
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 15 of 21 PageID# 45182




           That transplant would be especially inappropriate here because the substantive differences

   between federal maritime and Virginia law make the latter ill-suited to enforce federal maritime

   duties. Plaintiffs illustrate that mismatch, asserting that “should a jury find JCI negligent or strictly

   liable at trial, Plaintiff may recover damages under Virginia’s wrongful death statute,” Pls.’ MSJ

   Opp. 12, even though Virginia rejects both strict liability torts and Plaintiffs’ proposed “should

   have known” standard of care for maritime negligence. See JCI’s Opp. to Motion for Leave 16–

   17. The Supreme Court has rejected that “incongruity of forcing the States to provide the sole

   remedy to effectuate duties that have no basis in state policy.” Moragne, 398 U.S. at 402 n.15.

                   2.      Calhoun does not authorize the application of Virginia remedies in this
                           seaman’s case.

           Plaintiffs’ primary response is to insist that this Court has already “specifically held that

   Plaintiff could recover damages under Virginia’s wrongful death statute, pursuant to the Supreme

   Court’s decision in Calhoun.” Pls.’ MSJ Opp. 2; see also id. at 3–4, 7–8, 10, 12–14, 16–18, 20–

   21, 23. This Court made no such holding. Indeed, the parties had not even briefed that issue

   because Plaintiffs dodged the application of state law throughout this case. Nor had the Court

   addressed the new (and self-contradicting) argument on which Plaintiffs must prevail: that Mr.

   Mullinex is a non-seaman like the girl riding a jet ski in Calhoun. See Pls.’ MSJ Opp. 20–21.

   Thus, the single sentence that Plaintiffs rely on was not a substantive holding but merely a

   procedural observation:      “Plaintiff[s] could have pursued a wrongful death claim against

   Defendant under Virginia law”—but chose not to. Opinion Granting JCI’s MTD Survival Claim

   9–10 (emphasis added). That Plaintiffs could have pursued a Virginia wrongful death claim does

   not suggest that Plaintiffs would have recovered on that claim.

           In any event, Plaintiffs misinterpret Calhoun, which confirms that Virginia remedies are

   unavailable here. Indeed, Calhoun excludes resort to state remedies on behalf of a self-described



                                                      11
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 16 of 21 PageID# 45183




   “seaman” like Mr. Mullinex. As the Supreme Court explained, “[t]raditionally, state remedies

   have been applied in accident cases of this order—maritime wrongful-death cases in which no

   federal statute specifies the appropriate relief and the decedent was not a seaman, longshore

   worker, or person otherwise engaged in a maritime trade.” 516 U.S. at 202 (emphasis added). The

   Court thus “h[e]ld . . . that state remedies remain applicable in such cases.” Id. (emphasis added).

   The twelve-year-old vacationer in a jet ski accident fit that bill in Calhoun itself. Id. at 201–02.

   But state remedies are not applicable in this case precisely because Mr. Mullinex was a “seaman”

   (by Plaintiffs’ own admission), or at a minimum a “person otherwise engaged in a maritime trade.”

   Id. at 202.

           Plaintiffs thus recognize that pursuing Virginia damages under Calhoun requires the

   untenable conclusion that a Navy sailor is not a seaman or otherwise engaged in a maritime trade.

   Pls.’ MSJ Opp. 22. But Plaintiffs themselves have consistently described Mr. Mullinex as a

   seaman throughout this litigation. See, e.g., Pls.’ Opp. to JCI’s MTD Survival Claim 7, ECF 494

   (Apr. 20, 2022) (“Mr. Mullinex was a ‘seaman’ under the circumstances of this case.”). 5 And this

   Court’s June 10 Opinion continued to recognize that Mr. Mullinex was a seaman. 6



   5
     See also, e.g., Pls.’ Opp. to MTD Maritime Claims 3 (“This case is a product liability case by a
   Navy seaman who was exposed to asbestos as a machinist mate for nearly ten years on three
   commissioned Navy ships while they were underway and undergoing repairs and overhauls in
   port.”); Pls.’ Opp. to JCI’s Motion to Exclude Evidence of Loss of Society and Punitive Damages
   18, ECF 263 (Sept. 2, 2021) (“Mr. Mullinex is a ‘seaman.’”) (emphases added). Plaintiffs’ reversal
   on whether Mr. Mullinex is a “seaman” is yet another bad-faith instance of “treat[ing] his
   complaint like the game of Battleship, moving the target across the board every time it suffers a
   fatal blow.” Bioiberica Nebraska, Inc. v. Nutramax Mfg., Inc., No. 1:18-cv-03133-SAG, 2021 WL
   242494, at *2 (D. Md. Jan 25, 2021).
   6
     See, e.g., Opinion Granting MTD Survival Claim 6 (“Plaintiff argues that the applicable parallel
   statutory scheme here is the Jones Act because Plaintiff is a ‘seaman.’” (quoting Pl.’s Opp. at 19));
   id. (“Both statutory schemes are relevant to Plaintiff’s claim because she alleges that Mr. Mullinex
   was a seaman who died due to the negligence of a third-party manufacturer.”); id. at 7 (“Parallel



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Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 17 of 21 PageID# 45184




          Instead, Plaintiffs seize on a Calhoun footnote in an effort to define “nonseafarers” subject

   to Calhoun’s holding as any “seamen [not] covered by the Jones Act.” Pls.’ MSJ Opp. 18–19

   (quoting 516 U.S. at 205 n.2). Under Plaintiffs’ absurd reading, even Navy sailors like Mr.

   Mullinex—whose “work, from start to finish, was performed on ships on navigable waters,” Pls.’

   Opp. to MTD Maritime Claims 3—are “nonseafarers” unless they “are actually suing their

   employers under the Jones Act.” Pls.’ MSJ Opp. 19 (emphasis added). Yet Plaintiffs’ Opposition

   cites no support for this contention because courts (including two on whose opinions Plaintiffs

   rely) have routinely rejected that misreading of Calhoun. 7

          As those courts all recognized, Mr. Mullinex does not stop being a seaman just because

   Plaintiffs are not suing his employer in this case. Rather, “the Supreme Court’s use of the word



   statutory schemes do not require survival damages for wrongful death claims by seaman against
   non-employers like Defendant.”); id. at 8–9 (“[T]his Court cannot confidently import Congress’
   approach in the employment context to wrongful death claims against non-employer defendants,
   even if the plaintiff is a ‘seaman.’”).
   7
     Plaintiffs cited such cases for the first time in the Reply to their Motion for Leave. ECF 551, at
   16–17 (Jul. 11, 2022). But their reliance on those cases is misplaced. First, Plaintiffs’ new
   argument is that Mr. Mullinex’s status determines their access to state-law remedies. But their
   cases incorrectly turn on the defendant’s status as a non-employer. Sugden v. Puget Sound Tug &
   Barge Co., 796 F. Supp. 455 (W.D. Wash. 1992); In re Cleveland Tankers, Inc., 843 F. Supp.
   1157, 1160 (E.D. Mich. 1994) (following Sugden); Consolidation Coal Co. v. Consolidation Coal
   Co., Inc., 228 F. Supp. 2d 764, 771 (N.D. W.Va. 2001) (following Cleveland Tankers); Gehlken
   v. McAllister Towing & Transp. Co., No. 2:03-cv-03935-DCN, 2007 WL 2332487 (D.S.C. Jan.
   29, 2007) (following Consolidation Coal). This Court already rejected that employer/non-
   employer distinction in granting JCI’s Motion to Dismiss the Survival Claims, ECF 544. Two
   years after Sugden, so did the Ninth Circuit. Davis v. Bender Shipbuilding & Repair Co., 27 F.3d
   426, 430 (9th Cir. 1994). Plaintiffs’ remaining cases rely on district court decisions within the
   Fifth Circuit that were overruled when that court followed Bender and rejected the employer/non-
   employer distinction Plaintiffs invoke here. See Scarborough v. Clemco Indus., 391 F.3d 660, 668
   n.5 (5th Cir. 2004).

   The only opinion cited by Plaintiffs that makes the Calhoun point they advance is In re Marquette
   Transp. Co. Gulf-Inland, LLC, 182 F. Supp. 3d 607 (E.D. La. 2016). As detailed more fully below,
   Plaintiffs’ own case law reflects Marquette Transport’s mistaken reading of Calhoun. Indeed,
   Marquette Transport has been cited by no court anywhere in the country.

                                                   13
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 18 of 21 PageID# 45185




   ‘covered’ in footnote 2” means “a person who would qualify as a seaman under the Jones Act . . .

   if the individual was suing his employer,” Hays v. John Crane, Inc., No. 9:09-cv-81881, 2014 WL

   10658453, at *3 (S.D. Fla. Oct. 10, 2014) (emphasis added) (relied on by Plaintiffs but rejecting

   their reading of footnote 2 because it “negates a significant portion of the Court’s holding” in

   Calhoun). Thus, footnote 2 “was not intended to exclude persons who would qualify to bring suit

   under those acts, but were suing persons other than their employer.” Id. Rather, those courts

   explain that the holding of Calhoun is found in the first two paragraphs of the opinion: that state

   remedies only apply in that “narrow” class of cases in which “the decedent was not a seaman,

   longshore worker, or person otherwise engaged in a maritime trade.” Id.; John Crane, Inc. v.

   Hardick, 722 S.E.2d 610, 616 (Va. 2012) (Hardick I) (relied on by Plaintiffs yet rejecting their

   misreading of footnote 2 and observing that a seaman’s “status is hardly comparable to that of a

   12-year-old girl riding a jet ski” as in Calhoun), modified on reh’g on other grounds, 732 S.E.2d

   1 (Va. 2012) (Hardick II) 8 ; see also Sebright, 525 F. Supp. 3d at 251 (“[B]ecause Sebright
                               7F




   allegedly incurred his injuries while conducting operations and maintenance on a vessel, . . .

   Sebright cannot, therefore, be considered a ‘nonseafarer,’ and Calhoun is distinguishable from the

   present case” involving a Navy sailor’s claim against a third-party manufacturer); Savoie v.

   Chevron Texaco, No. 2:04-cv-01302, 2005 WL 2036740, at *3 (E.D. La. Jul. 22, 2005) (rejecting

   Plaintiffs’ misreading of Calhoun); In re Goose Creek Trawlers, Inc., 972 F. Supp. 946, 950



   8
     Seeking to make lemonade out this Court’s rejection of the holding in Hardick II, Opinion
   Granting JCI’s MTD Survival Claim 5 n.3, Plaintiffs misstate the Hardick cases. Plaintiffs now
   assert that because: (i) the ruling in Hardick I “prohibit[s] Plaintiff[s] from recovering Virginia’s
   wrongful death damages under Calhoun,” Pls.’ MSJ Opp. 18; and (ii) this Court “held the opposite
   of what the Virginia Supreme Court held” in that decision, id. at 20, they should now be allowed
   to pursue Virginia damages. Id. But neither Hardick decision addressed the availability of
   Virginia’s wrongful death statute (which the same plaintiff’s counsel chose not to invoke).
   Hardick I, 722 S.E.2d at 617. So rejecting the maritime holding of Hardick II has nothing to do
   with a Virginia holding that Hardick I never reached and this Court had no reason to address.

                                                    14
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 19 of 21 PageID# 45186




   (E.D.N.C. 1997) (same). So because Mr. Mullinex was a self-admitted seaman (not to mention

   engaged in a maritime trade), the maritime principles of uniformity in Moragne—and which run

   from Miles all the way to Batterton—control here.

                                           CONCLUSION

          For these reasons, the Court should enter summary judgment for JCI. And for the reasons

   in JCI’s Opposition to Plaintiffs’ Motion for Leave, the Court should deny Plaintiffs’ request to

   file a Fourth Amended Complaint. That will allow a single appeal to resolve all properly preserved

   damages issues, and avoid burdening the Court and multiple juries with multiple trials when

   Plaintiffs inevitably seek another trial for pain and suffering damages that have already been

   excluded.

   Dated: July 15, 2022

                                                       Respectfully submitted,
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                                                       Defendant

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                                                  15
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 20 of 21 PageID# 45187




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                                        16
Case 4:18-cv-00033-RAJ-DEM Document 552 Filed 07/15/22 Page 21 of 21 PageID# 45188




                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 15th day of July, 2022, a true and accurate copy of the foregoing

   was filed electronically using the CM/ECF system, which will then send a notification of such

   filing (NEF) to all counsel of record.

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